                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


Patrick T. Shaughnessy,                                      Case No. 10-75021
                                                             Chapter 7
                  Debtor.                                    Hon. Marci B. McIvor
______________________________/

Debbie Tomaszewski,

                       Plaintiff,

v.                                                           Adv. Pro. No. 11-4109

Patrick T. Shaughnessy

                  Defendant.
_______________________________/

     OPINION GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AS
                TO CLAIMS ARISING UNDER 11 U.S.C. § 727(a)(4)

        This matter is before the Court on Defendant’s Motion for Summary Judgment. In an

Opinion and Order issued on August 25, 2011, the Court granted Defendant’s Motion for

Summary Judgment as to Plaintiff’s claims arising under 11 U.S.C. § 523. The Court requested

supplemental briefs regarding the claim arising under 11 U.S.C. § 727(a)(4). Having reviewed

the supplemental briefs and attachments filed by the parties, the Court finds that there are no

genuine issues of material fact as to Plaintiff’s claim under § 727(a)(4). Defendant’s Motion for

Summary Judgment is granted as to that claim and Plaintiff’s Complaint and Amended

Complaint are dismissed in their entirety.

        The purpose of requesting supplemental briefs was to allow the parties to submit

evidence regarding vehicles which Defendant/Debtor allegedly owned at the time he filed his

bankruptcy petition, but which he failed to disclose on his bankruptcy schedules. The Court also




 11-04109-mbm        Doc 52         Filed 09/16/11   Entered 09/16/11 14:39:34       Page 1 of 2
sought an explanation for Defendant/Debtor’s failure to include social security disability income

on his original Schedule I.

        With respect to the vehicles, Defendant’s supplemental brief adequately explains the

disposition of the vehicles listed by Plaintiff in her original brief in opposition to Defendant’s

Motion for Summary Judgment. While it appears that Defendant/Debtor bought, fixed, and sold

numerous late model vehicles, the vehicles were of insignificant value and in many instances,

were not owned on the date the petition was filed. Defendant’s brief also explains, to the Court’s

satisfaction in this particular case, Defendant’s initial failure to disclose social security disability

income.

        The Court notes that Plaintiff brought these issues to the Chapter 7 Trustee’s attention on

several occasions. The Chapter 7 Trustee, whose responsibilities include assessing whether

Debtor intentionally omitted or failed to disclose assets, declined to pursue an action to block

Debtor’s discharge under § 727. Presumably, the Trustee chose not to pursue denial of discharge

for the same reasons the Court is now declining to do so – because there is no evidence that

Defendant/Debtor intentionally omitted assets in an effort to thwart creditors.

        For the foregoing reasons, as well as those set forth in the Court’s prior Opinion,

Defendant’s Motion for Summary Judgment is granted. Plaintiff’s Complaint and Amended

Complaint are dismissed.
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Signed on September 16, 2011




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 11-04109-mbm         Doc 52      Filed 09/16/11        Entered 09/16/11 14:39:34        Page 2 of 2
